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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                 )       CASE NO. 1:17-MD-2804
OPIATE LITIGATION                            )
                                             )       JUDGE POLSTER
                                             )
                                             )       AMENDED ORDER


       The Court earlier requested that various groups identify negotiating teams to discuss

settlement. These groups asked and received permission to name more than six attorneys each. The

Court now confirms the negotiating teams will be composed as set forth below, and these teams will

work with the Special Masters and the Court to identify possible resolutions of economic and non-

economic issues in this litigation. The Court reserves the right to modify the composition of these

teams as discussions go forward, and these teams may appoint “support committees” to assist with

negotiations as they see fit.

Plaintiffs
Joe Rice                                             Paul Geller
Paul Hanly                                           Chris Seeger
Elizabeth Cabraser                                   Russell Budd
Troy Rafferty


Manufacturer-Defendants
Sheila L. Birnbaum                                   Mark Filip
Steven A. Reed                                       Brien T. O’Connor
Charles C. Lifland                                   J. Matthew Donohue
Jonathan L. Stern
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